     Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 1 of 11
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Approved:
            EMIL J. BOVE III / JANE KIM
            JASON A. RICHMAN / SAMUEL ADELSBERG
            Assistant United States Attorneys

Before:     HONORABLE KATHARINE H. PARKER
            United States Magistrate Judge
            Southern District of New
                                         Yo18-MAG
                                         x
                                               COMPLAINT
UNITED STATES OF AMERICA
              - v. -                           Violations of 18 U.S.C.
                                               §§ 1716, 879, 844 (d), (e),
CESAR ALTIERI SAYOC,                           875,   111,    and    2

                       Defendant.              COUNTY OF OFFENSE:
                                               NEW YORK
- - - - - - - - - - - - - - - - -        x


SOUTHERN DISTRICT OF NEW YORK, ss.:

          DAVID BROWN, being duly sworn, deposes and says that he
is a Special Agent with the Federal Bureau of Investigation
("FBI"), and a member of the FBI' s Joint Terrorism Task Force
("JTTF"), and charges as follows:

                                   COUNT ONE

              (Interstate Transportation of an Exp1osive)

           1.   In or about October 2018, in the Southern District
of New York and elsewhere, CESAR ALTIERI SAYOC, the defendant,
transported and received, and attempted to transport and receive,
in interstate and foreign commerce, an explosive with the knowledge
and intent that it would be used to kill, injure, and intimidate
individuals, and unlawfully to damage and destroy buildings,
vehicles, and other real and personal property, to wit, SAYOC
mailed approximately 13 packages containing improvised explosive
devices ( "IEDs") to certain current and former U.S. Government
officials, politicians, and others, including mailings across
state lines.

       (Title 18, United States Code, Sections 844(d) and 2.)
    Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 2 of 11




                              COUNT TWO

                  {Illegal Mailing of Explosives)

          2.   In or about October 2018, in the Southern District
of New York and elsewhere, CESAR ALTIERI SAYOC, the defendant,
knowingly deposited for mailing and delivery, and knowingly caused
to be delivered by mail, according to the direction thereon, and
at a place at which it was directed to be received by the person
to whom it was addressed, a thing declared nonmailable as defined
in Title 18, United States Code, Section 1716(a), to wit, the IEDs
described in Count One, with intent to injure another and injure
the mails and other property.

    (Title 18, United States Code, Sections 1716{j) (2) and 2.)

                             COUNT THREE

  (Threats Against Former Presidents and Certain Other Persons)

          3.   In or about October 2018, in the Southern District
of New York and elsewhere, CESAR ALTIERI SAYOC, the defendant,
knowingly and willfully threatened to kill and inflict bodily harm
upon a former President and a member of the immediate family of a
former President, to wit, SAYOC mailed an IED to former First Lady
Hillary Clinton, who resides with her husband, former President
William Jefferson Clinton.

       (Title 18, United States Code, Sections 879 and 2.)

                             COUNT FOUR

             (Threatening Interstate Communications)

          4.    In or about October 2018, in the Southern District
of New York and elsewhere, CESAR ALTIERI SAYOC, the defendant,
knowingly transmitted in interstate and foreign commerce a
communication containing a threat to injure the person of another,
to wit, SAYOC mailed the IEDs described in Count One, including
multiple mailings with photographs of the target-recipient marked
with a red "X."

      (Title 18, United States Code, Sections 875(c) and 2.)




                                  2
    Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 3 of 11




                             COUNT FIVE

                   (Assaulting Federal Officers)

          5.   In or about October 2018, in the Southern District
of New York and elsewhere, CESAR ALTIERI SAYOC, the defendant,
with the intent to commit another felony, to wit, the charges set
out in Counts One through Four of this Complaint, forcibly
assaulted and intimidated any person who formerly served as a
person designated in Title 18, United States Code, Section 1114,
to wit SAYOC mailed the IEDs described in Count One to two former
Presidents, a former Vice President, former Members of the U.S.
Congress, and former Executive Branch employees.

 (Title 18, United States Code, Sections lll(a), lll(b), and 2.)

          The bases for my knowledge and the        foregoing charges
are, in part, as follows:

          6.   I am a Special Agent with the FBI and a member of
the FBI's New York-based JTTF, and I have been personally involved
in the investigation of this matter.   This affidavit is based in
part upon my conversations with law enforcement agents and other
people, and my examination of reports and records.   Because this
affidavit   is being submitted for      the  limited purpose of
establishing probable cause, it does not include all of the facts
that I have learned during the course of my investigation. Where
the contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported in
substance and in part, except where otherwise indicated.

                               Overview

          7.   During the course of October 2018, as further
detailed below,   CESAR ALTIERI SAYOC,    the defendant, mailed
approximately 13 IEDs through U.S. mail to certain current and
former U.S.   Government officials,    politicians, and others,
including mailings across state lines.

               a.   The intended targets of the defendant's IEDs
included former President Barack Obama; former Vice President
Joseph Biden; former Secretary of State, former Sena tor, former
First Lady, and 2016 Presidential Candidate Hillary Clinton;
former Attorney General Eric Holder; Congressperson Maxine waters;
Senator Cory Booker; former Director of the Central Intelligence
Agency John Brennan; former Director of National Intelligence
James Clapper; philanthropist and billionaire George Soros; and
actor and director Robert De Niro.

                                  3
     Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 4 of 11




                b.   Each of the 13 IEDs was largely similar in
design and construction; they each consisted of approximately six
inches of PVC pipe, a small clock, a battery, wiring, and energetic
material.l   Certain of the mailings included photographs of the
target-recipients marked with a red "X."

               c.   Each of the 13 IEDs was packaged in a tan-
colored manila envelope lined with bubble wrap. Each was stamped
with approximately six self-adhesive postage stamps each bearing
a picture of an American flag.     Each envelope listed a return
sender of "DEBBIE WASSERMAN SHULTZ" at a particular address in
Florida ("Schultz Office-1"). Each envelope misspelled "Florida"
in the Schultz Office-1 return address as "FLORIDS" rather than
"FLORIDA." The return sender and the target-recipient listed on
each envelope was typed in black ink on white paper.

          8.   As discussed below, based on initial analysis from
the FBI laboratory in Quantico, Virginia (the "FBI Lab"), a latent
fingerprint was detected on one of the envelopes containing an IED
that was sent to Congressperson Waters and this fingerprint was
identified to CESAR ALTIERI SAYOC, the defendant.     In addition,
there is a possible DNA association between a sample collected
from a piece of the IED inside two of the envelopes containing
IEDs and a sample previously collected from SAYOC.

                           SAYOC's Targets

          9.   Based   on  my   review   of  publicly   available
information, I have learned the following, among other things:

               a.   Barack Obama served as President of the United
States from 2009 to 2017. One of former President Obama's mailing
addresses is a Post Office Box located in Washington, D.C. ("Obama
Mailing Address-1")

               b.    Hillary Clinton served as the First Lady of
the United States from 1993 to 2001, a United States Senator from
approximately 2001 to 2009, United States Secretary of State from
approximately 2009 to 2013, and as a nominee for President of the
United States in the 2016 Presidential Election.  Clinton resides



1 Based on my conversations with other law enforcement officers
and my training and experience, I understand energetic material to
include explosives and material that gives off heat and energy
through a rapid exothermic reaction when initiated by heat, shock,
or friction.

                                   4
        Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 5 of 11




at, among other locations, an address in Chappaqua, New York, with
her husband, former President William Jefferson Clinton, who
served as President of the United States from 1993 to 2001
("Clinton Residence-1") .  Certain staff members for the Clinton
family operate out of a residence located in Chappaqua, New York
("Clinton Residence-2").

                c.  Joseph Biden served as Vice President of the
United States from 2009 to 2017 under President Obama. From
approximately 1973 to 2009, Vice President Biden was a member of
the U.S. Senate. Former Vice President Biden resides at an address
in Wilmington, Delaware ("Biden Residence-1").

               d.   Eric Holder served as the Attorney General of
the United States from approximately 2009 to 2015 under President
Obama.   He is currently employed as a partner of a certain law
firm, and is based out of the law firm's Washington, D.C. office
("Holder Office-1")

               e.    Maxine Waters serves as a member of the U.S.
House of Representatives. She has served as a Congressperson since
1990.   Congressperson Waters has two principal offices:     one is
located in Washington, D.C. ("Waters Office-1"), and one is located
in Los Angeles, California ("Waters Office-2") .

               f.   Cory Booker serves as a member of the U.S.
Senate.  He has served as a Senator since 2013.     One of Senator
Booker's offices is located in Camden, New Jersey ("Booker Office-
1") .

                g.   Kamala Harris serves as a member of the U.S.
Senate.   She has served as a Senator since 2017.  One of Senator
Harris' s offices is located in Sacramento, California ("Harris
Office-1") .

               h.   John Brennan served as Director of the Central
Intelligence Agency ("CIA") from approximately 2013 to 2017, under
President Obama.

                   i.     James Clapper served as Director of National
Intelligence      from   approximately 2010 to 2017, under President
Obama.

               j.   George  Soros   is  a  prominent   U.S. -based
philanthropist and billionaire.   Soros resides at, among other
locations, an address in Katonah, New York ("Soros Residence-1") .


                                      5
    Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 6 of 11




Soros's former spouse resides at a second address in Katonah, New
York ("Soros Residence-2").

               k.   Robert De Niro is an American actor, producer,
and director.  De Niro is the co-founder of a film and television
production company located at a particular address in New York,
New York ("De Niro Address-1").

               1.   Debbie Wasserman Schultz serves as a member of
the U.S.   House of Representatives.      She has served as a
Congressperson since 2005.  Congressperson Schultz has an office
at a particular location in Florida ("Schultz Office-1").

                          SAYOC Mails 13 IEDs

                           The Soros Package

          10. Based on my review of documents and records, my
conversations with other law enforcement officers,       and my
involvement in this investigation, I have learned the following,
among other things:

               a.   On or about October 22, 2018, a package
containing an IED addressed to "GEORGE SOROS" was delivered via
U.S. mail to Soros Residence-2 (the "Soros Package," and together
with the other 12 packages described below, the "Packages").

               b.   The Soros Package consisted of a tan-colored
manila envelope lined with bubble wrap.   Approximately six self-
adhesive postage stamps each bearing a picture of an American flag
were stamped on the top right corner of the Soros Package.    Each
envelope listed a return sender of "DEBBIE WASSERMAN SHULTZ" at
Schultz Office-1.    Each envelope misspelled "Florida" in the
Schultz  Office-1   return  address   as  "FLORIDS"   rather  than
"FLORIDA." The return sender and the target-recipient listed on
the Soros Package were typed in black ink on white paper.      The
return address for the Soros Package was Schultz Office-1.

                  c.   The Soros Package was later received by
personnel   at   Soros Residence-1. Personnel at Soros Residence-1
opened the package and,    upon identifying what appeared to be an
IED, called law enforcement authorities.

               d.  On or about October 22,      2018,  the FBI
identified what appeared to be an IED inside the Soros Package.

                                   6
    Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 7 of 11




The FBI's Special Agent Bomb Technicians,         along with the
Westchester Hazardous Device Unit, rendered safe the contents of
the Soros Package. An initial examination of the contents of the
Soros Package revealed what appeared to be PVC pipe, a cap, clock,
battery, wires, and energetic material.     Included in the Soros
Package was a photograph of George Soros marked with a red "X."

                        The C1inton Package

          11. Based on my review of documents and records, my
conversations with other law enforcement officers,         and my
involvement in this investigation, I have learned that on or about
October 23, 2018, a package containing an IED was delivered to
Clinton Residence-2 addressed to "HILARY [sic] CLINTON" (the
"Clinton Package").

                          The Obama Package

          12. Based on my review of documents and records, my
conversations with other law enforcement officers,         and my
involvement in this investigation, I have learned that on or about
October 23, 2018, a package containing an IED was delivered to
Obama Mailing Address-1, and it was addressed to "BARRACK [sic]
OBAMA" (the "Obama Package") .  Included in the Obama Package was
a photograph of President Obama marked with a red "X."

                        The Brennan Package

           13. Based on my review of documents and records, my
conversations with other law enforcement officers,         and my
involvement in this investigation, I have learned that on or about
October 2 4, 2 018, a package containing an IED was delivered to
"TIME WARNER (CNN)" at a certain address in Manhattan, New York
 ("Manhattan Address-1") , and it was addressed to "JOHN BRENAN"
[sic] (the "Brennan Package") .   Included in the Brennan Package
was a photograph of John Brennan marked with a red "X."

                         The Ho1der Package

          14. Based on my review of documents and records, my
conversations with other law enforcement officers,         and my
involvement in this investigation, I have learned that on or about
October 24, 2018, a package containing an IED addressed to "ERIC
HIMPTON HOLDER" at Holder Office-1 was returned to sender (the
"Holder Package").




                                  7
    Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 8 of 11




                        The Waters Packages

          15. Based on my review of documents and records, my
conversations with other law enforcement officers,       and my
involvement in this investigation, I have learned the following,
among other things:

               a.   On or about October 24; 2018, a package
containing an IED was delivered to Waters Office-1, and it was
addressed to "MAXIM [sic] WATERS" ("Waters Package-1").

               b.    On or about October 24, 2018, a package
containing an IED was delivered to Waters Office-2 ("Waters
Package-2," and together with "Waters Package-1," the "Waters
Packages") . Waters Package-2 was addressed to "MAXIM [sic] WATERS"
at Waters Office-2. Included in Waters Package-2 was a photograph
of Congressperson Waters marked with a red "X."

                         The Eiden Packages

          16.  Based on my review of documents and records, my
conversations with other law enforcement officers,       and my
involvement in this investigation, I have learned the following,
among                        other                        things:

               a.   On or about October 25, 2018, a package
containing an IED addressed to "JOSEPH ROBINETTE BIDEN JR." at a
certain assisted living facility was unsuccessfully delivered and
recovered in Delaware ("Biden Package-1") .

                b.  On or about October 25, 2018, a package
containing an IED was unsuccessfully delivered to Biden Residence-
1 ( "Biden Package-2," and together with "Biden Package-1," the
"Biden Packages"). Biden Package-2 was addressed to "JOSEPH BIDEN"
at Biden Residence-1.

                        The De Niro Package

            17. Based on my review of documents and records, my
conversations with other law enforcement officers,         and my
involvement in this investigation, I have learned that on or about
October 25, 2018, a package containing an IED addressed to "ROBERT
DE NIRO" was delivered to De Niro Address-1         (the "De Niro
Package") .




                                   8
    Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 9 of 11




                         The Booker Package

          18. Based on my review of documents and records, my
conversations with other law enforcement officers,         and my
involvement in this investigation, I have learned that on or about
October 26, 2018, a package containing an IED addressed to "CORY
BOOKER" was recovered in the U.S. Postal Service's Royal Palm Mail
Processing Center in Opa-Locka, Florida (the "Booker Package") .


                        The ciapper Package

            19. Based on my review of documents and records, my
conversations with other law enforcement officers,         and my
involvement in this investigation, I have learned that on or about
October 26, 2018, a package addressed to "JAMES ROBERT CLAPPER" at
Manhattan Address-1 was recovered in Manhattan (the "Clapper
Package") .

                         The Harris Package

          20.  Based on my review of documents and records, my
conversations with other law enforcement officers,         and my
involvement in this investigation, I have learned that on or about
October 26, 2018, a package addressed to "KAMALIA HARRIS" was
recovered in Sacramento, California (the "Harris Package").

                  The 13 Packages Taken Together

          21. The   Packages--the Soros    Package,  the Clinton
Package, the Obama Package, the Brennan Package, the Holder
Package, Waters Package-1, Waters Package-2, Biden Package-1,
Biden Package-2, the De Niro Package, the Booker Package, the
Clapper Package, and the Harris Package--are largely identical
with respect to size and shape.    In addition, approximately six
self-adhesive American flag postage stamps are located on the top
right corner of each of the Packages, the return address for each
of the Packages is the same, and the sender and target-recipient
address labels on each of the Packages are substantially similar
in terms of color, size, and font.

                   Latent Print and DNA Ana1ysis

          22.  Based on corrununications with personnel from the FBI
Lab, I know, among other things, that a latent fingerprint was
detected on Waters Package-1 and this fingerprint was identified
to CESAR ALTIERI SAYOC, the defendant. According to the FBI Lab,


                                  9
    Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 10 of 11




the identification has      been   through   the   appropriate   quality
assurance measures. 2

          23.  Based on communications with personnel from the FBI
Lab, I know, among other things, that (a) there is a possible DNA
association between a sample collected from a piece of the IED
inside Waters Package-1 and a sample previously collected from
CESAR ALTIERI SAYOC, the defendant, by the Florida Department of
Law Enforcement, (b) there is a possible DNA association between
a sample collected from a piece of the IED inside the Obama Package
and a sample collected from SAYOC by the Florida Department of Law
Enforcement, and (c) to this point, the FBI Lab has not identified
any other possible matches on the evidence from the Packages that
it has examined.

                    The Routing of the Packages

          24.  Based on conversations with employees of the U.S.
Postal Service, I know, among other things, that:

                a.  Between on or about October 18, 2018 and on or
about October 20, 2018, the Obama Package, the Clinton Package,
the De Niro Package, Waters Package-1, and Biden Package-1 were
routed through the U.S. Postal Service's Royal Palm Mail Processing
Center in Opa-Locka, Florida (the "Opa-Locka Center").

               b.   The county in which CESAR ALTIERI SAYOC,         the
defendant, resides is serviced by the Opa-Locka Center.

                            SAYOC's Arrest

          25.  Based   on   my   conversations  with  other   law
enforcement officers,   I know that CESAR ALTIERI SAYOC, the
defendant, was arrested on or about October 26, 2018, in Florida,
in the vicinity of his white van. The windows of SAYOC's van were
covered with images including images critical of CNN.




2
  Consistent with FBI policy, all latent fingerprint results are
considered preliminary until an official FBI report is issued
following technical and administrative review.



                                   10
    Case 1:18-cr-00820-JSR Document 1 Filed 10/26/18 Page 11 of 11




                      SAYOC's Socia1 Media Posts

          26.  Based on my review of publicly available
information on Twitter, I know that there is an account with
username "Cesar Altieri" 3 that contains the following, among
other things:

               a.   Various posts with misspellings consistent
with the Packages, including "Hilary" rather than "Hillary,"
"Shultz" rather than "Schultz"; and

               b.   A post dated October 24, 2018--i.e., after
the recovery of the Soros Package--that is critical of, among
others, President Barack Obama and George Soros.

          WHEREFORE deponent prays that CESAR ALTIERI SAYOC, the
defendant, be imprisoned, or bailed, as the case may be.




                                 Special Agent David Brown
                                 Federal Bureau of Investigation
                                 Joint Terrorism Task Force


Sworn to before me this
26th day of October 2018


                                       *Sworn to before me by reliable electronic means
                                       (Face Time).
HONORABLE KATHARINE




3
  Based on my training and experience, as well as my review of law
enforcement databases, I believe that SAYOC is the user of the
"Cesar Altieri" Twitter account because (i) Altieri is SAYOC' s
middle name, and (ii) the location of SAYOC's last known residence
in Aventura, Florida is proximate to the two locations listed in
the account information for the "Cesar Altieri" Twitter account
(Sunny Isle Beach and Hollywood, Florida)

                                  11
